USCA4 Appeal: 07-4115        Doc: 159              Filed: 06/24/2009       Pg: 1 of 3




                                IN THE UNITED STATES COURT OF APPEALS
                                        FOR THE FOURTH CIRCUIT

                                                        *
        UNITED STATES OF AMERICA
                                                        *
               v.                                              No. 07-4059 (L)
                                                        *
        PAULETTE MARTIN, et al.
                                                        *

        *      *        *      *       *       *        *      *       *       *        *      *       *

                     CORRECTED JOINT MOTION TO EXTEND TIME FOR BRIEFING

                        Comes now Appellant herein, Paulette Martin, by and through her counsel, Michael

        D. Montemarano, Esq., and Michael D. Montemarano, P.A., as appointed counsel pursuant to the

        CJA, and as lead appellate counsel for the five other Appellants herein, and does move for the

        extension of the time for the briefing of this matter, and in support thereof does state:

                1.      The Joint Brief of Appellants is due on July 22, 2009, per the current briefing order.

                2.      Through no fault their own, and with neither their connivance nor consent, counsel

        for the respective Appellants have received 7000 plus pages of transcript over the course of over two

        (2) years, in a fitful, sporadic and random manner. Therefore, the two counsel who were not also

        trial counsel have not been able to begin to assimilate the trial in a regularized and comprehensible

        fashion, so as to place parts of the trial in the proper context relative to prior events in the trial.

        Furthermore, it now is over three (3) years since the commencement of trial in this matter, and the

        four counsel who also were trial counsel cannot begin to pretend to recollect overmuch from the

        course of a trial that long ago, leaving them presumptively no better off than counsel new to this

        matter. Accordingly, counsel involved will require considerable time to read and digest the trial

        transcript, which is essentially tabula rasa, for them as well as for counsel for Appellee.
USCA4 Appeal: 07-4115         Doc: 159           Filed: 06/24/2009        Pg: 2 of 3




                3.     Once having digested the transcript, counsel for the respective Appellants will need

        to address the identification of issues and of materials relative to the JA. This is especially true for

        counsel who were not trial counsel.

               4.      Once this is done by each of Appellant’s counsel, counsel for Appellee will need to

        respond in similar fashion. As the identification of issues has not yet taken place, additional time

        will be required to permit counsel for Appellee to make this initial determination in response to the

        initial identification of issues by Appellants, and the provision of hundreds of pages of transcript

        which they undoubtedly will intend to place in the JA.

               5.      Appellants are serving lengthy sentences, and in three instances life terms, necessarily

        meaning that this is an appeal of considerable import.

               6.      Counsel for Appellants also are trial counsel in previously scheduled matters before

        the U.S. District Courts in Baltimore and Washington, DC, between the date of this Motion and the

        end of the year. They therefore will not be able to give the Joint Brief their undivided attention at

        any point during this time, or in the near future.

               7.      Additionally, coordination between counsel necessarily will be time-consuming, due

        solely to the nature of six separate attorneys and their respective schedules.

               8.      Counsel for Appellants therefore request that the time for briefing be extended, and

        the due date of the Joint Brief of Appellants be rescheduled to no earlier than September 21, 2009.

               9.      Counsel for Appellant is authorized to state that counsel for Appellee, Assistant

        United States Attorney Deborah Johnston, does not object to the grant of the requested relief.




                                                             2
USCA4 Appeal: 07-4115       Doc: 159          Filed: 06/24/2009     Pg: 3 of 3




                                                     Respectfully submitted,




                                                             /s/
                                                     MICHAEL D. MONTEMARANO

                                                     Michael D. Montemarano, P.A.
                                                     5695 Main Street, Suite 201
                                                     Elkridge, Maryland 21075-5016
                                                     (410) 379-0067/Fax 540-9950
                                                     Counsel of Record/CJA Counsel
                                                           For Appellant



                                       CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that on or before this 24th day of June, 2009, a copy of the foregoing
        Corrected Joint Motion to Extend Time for Briefing was filed via CM-ECF, and served via direct
        email, to Deborah Johnston, Esq., Assistant United States Attorney, 400 US Courthouse, 6500
        Cherrywood Lane, Greenbelt, MD 20770.



                                                            /s/
                                                     MICHAEL D. MONTEMARANO




                                                      3
